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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
Northern Division

STEPHEN FINNER

CASE NO, 1:19-cv-2766
Plaintiff,
VS.

CREDIT SOLUTIONS CORP.

Defendants

 

NOTICE OF DISMISSAL WITH PREJUDICE
Plaintiff, by undersigned counsel, dismisses the above-captioned case with prejudice

pursuant to Fed. R. Civ. P. 41 (a)(1)(A)G).

/s Wendell Finner

_ WENDELL FINNER, Bar No. 04379
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Baltimore, Maryland 21202
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(410) 449-1170 fax
himself@wendelifinner.com
Attorney for Plaintiff

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that the foregoing was sent via first class mail, postage prepaid, to
Credit Solutions Corp., defendant, this 18" day of December, 2019.

/s Wendell Finner

' Request GRANTED this 18th day of December, 2019.

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Richard D. Bennett
U.S. District Judge

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